
EDWARDS, J.
Appellant, as a juvenile, pled no contest to attempted second-degree murder with a firearm. He is serving a twenty-five-year term of incarceration with a twenty-five-year firearm minimum mandatory coupled with a review hearing that will take place after twenty years. We affirm the postconviction court's summary denial of Appellant's Florida Rule of Criminal Procedure 3.800(a) motion. Contrary to Appellant's arguments, we have held and continue to hold that juveniles may permissibly be sentenced to mandatory minimum terms of imprisonment under these circumstances. See Montgomery v. State , 230 So. 3d 1256, 1263 (Fla. 5th DCA 2017).
AFFIRMED.
EVANDER, C.J. and EISNAUGLE, J., concur.
